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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                 )
                                       )
               Plaintiff,              )
                                       )
v.                                     )       Civil Action No. 14–0958 (RMC)
                                       )
NATIONAL INDIAN GAMING                 )
COMMISSION, et al.,                    )
                                       )
               Defendants.             )
                                       )

                                              ORDER

        Having considered the Plaintiff’s Consent Motion for Modification of Remaining

Briefing Schedule, and the premises of this case, it is, this   day of               , 2019,

        ORDERED, that Plaintiff’s Consent Motion be, and same hereby is, GRANTED;

and it is

        FURTHER ORDERED, that the remaining briefing schedule is modified as follows:

               1. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment,

               and Reply to Defendants’ Response to Plaintiff’s Motion for Summary

               Judgment from September 6, 2019 to September 27, 2019; and

               2. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

               Summary Judgment on or before October 18, 2019.




                                               ROSEMARY M. COLLYER
                                               UNITED STATES DISTRICT JUDGE

Copies to Counsel
via ECF
